Case 1:18-cv-00790-MSK-NRN Document 1 Filed 04/04/18 USDC Colorado Page 1 of 5




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


  Civil Action No. 1:18-CV-

  JOSEPH A. GILL and JANI P. GILL
                    Plaintiffs,
  vs.

  CHRISTOPHER ALLEN WALTZ and
  SWIFT TRANSPORTATION CO OF ARIZONA, LLC
                 Defendants.


                                      NOTICE OF REMOVAL


         Defendant Swift Transportation Co of Arizona, LLC, (incorrectly identified in Plaintiffs’

  underlying caption as “Swift Transportation Company, LLC”) (hereinafter referred to as

  “Defendant Swift”), through its undersigned counsel, Hall & Evans, LLC, hereby submits the

  following Notice of Removal of the above-captioned action from the District Court of Denver

  County, Colorado to the United States District Court for the District of Colorado pursuant to 28

  U.S.C. §§ 1332, 1441, and 1446, Fed. R. Civ. P. 81(c). 1

         1.      This case is removable pursuant to 28 U.S.C. § 1441 because the United States

  District Court for the District of Colorado has diversity jurisdiction under 28 U.S.C. § 1441, 1446,

  and 1332. Federal courts have diversity jurisdiction in lawsuits between citizens of different states

  where the amount controversy exceeds $75,000, exclusive of interest and costs. 28 U.S.C. § 1332.



  1
    In their caption filed in state court, Plaintiffs identity the corporate Defendant as Swift
  Transportation Company, LLC. This is not the correct corporate entity. In the body of the
  Complaint, Plaintiffs correctly identify the corporate defendant as Swift Transportation Company
  of Arizona, LLC.
Case 1:18-cv-00790-MSK-NRN Document 1 Filed 04/04/18 USDC Colorado Page 2 of 5




            2.     There is complete diversity of citizenship between Plaintiffs and Defendants.

  Plaintiffs, Joseph and Jani Gill, are both citizens of Colorado. EXHIBIT E, Complaint, at ¶1. See

  Crowley v. Glaze, 710 F.2d 676, 678 (10th Cir. 1983) (“For purposes of diversity jurisdiction,

  under 28 U.S.C. § 1332(a)(1), state citizenship is the equivalent of domicile”).

            3.     Defendant Swift is a citizen of Delaware and Arizona.           Specifically, Swift

  Transportation Co of Arizona, LLC is a limited liability company whose sole member is Swift

  Transportation Co., LLC. In turn, Swift Transportation Co., LLC’s sole member is Knight-Swift

  Transportation Holdings, Inc., a corporation organized under the law of the State of Delaware,

  with a principal place of business in the State of Arizona. See Hale v. Mastersoft Int'l Pty., Ltd.,

  93 F. Supp. 2d 1108, 1112 (D. Colo. 2000) (“[A] limited liability company is a citizen of the states

  of which its members are citizens”); 20 U.S.C. § 1332(c) (“a corporation shall be deemed to be a

  citizen of any State by which it has been incorporated and of the State where it has its principal

  place of business”). In addition, Defendant Christopher Allen Waltz, a former employee of Swift

  whom has not been served, is a resident and citizen of Michigan. Therefore, there is complete

  diversity of citizenship between the parties.

            4.     The amount in controversy exceeds $75,000. In their Complaint, Plaintiffs allege

  Mr. Gill suffered “serious bodily injuries” caused by an vehiclular accident, leading to “a cervical

  anterior discectomy fusion with cervically designed metal supports surgically attached to his

  cervical disks C4-C5, and C6-C7.” EXHIBIT E, Complaint, at ¶13.2 As an example of Plaintiff’s

  alleged injuries and damages, a Medical Payment Detail provided by Mr. Gill’s workers’

  compensation carrier, Pinnacol Assurance, itemizes $627,809.76 in billed medical expenses and


  2
      Defendant Swift denies Plaintiffs’ allegations regarding their alleged damages and injuries.
                                                     2
Case 1:18-cv-00790-MSK-NRN Document 1 Filed 04/04/18 USDC Colorado Page 3 of 5




  $57,227.13 in paid medical expenses allegedly related to the incident, as well as $72,991.26 in

  indemnity payments made by Pinnacol. In addition to medical expenses, Plaintiffs seeks lost

  wages, non-economic damages for pain and suffering, damages for permanent impairment, and

  damages for loss of consortium. EXHIBIT E, Complaint, at p.6, Prayer for Relief. Furthermore,

  in the Civil Cover Sheet filed in the Denver County District Court, Plaintiffs state they seek a

  monetary judgment over $100,000. EXHIBIT D, Civil Cover Sheet. Therefore, the amount in

  controversy exceeds $75,000.

         5.      Pursuant to 28 U.S.C. § 1446(b), this Notice of Removal is being served within

  thirty days after service on Defendant Swift, who was served on March 5, 2018. EXHIBIT F,

  Return of Service.

         6.      A copy of this Notice of Removal will be filed with the Clerk of the Denver County

  District Court and served upon Plaintiffs’ counsel.

         7.      Pursuant to 28 U.S.C. § 1446(a) and D.C.Colo.LCiv.R. 81.1(b), copies of the

  following process, pleadings, and orders that were served upon the Defendant or filed in the state

  court action are attached as follows:

         Exhibit A       Delay Reduction Order

         Exhibit B       Summons

         Exhibit C       Summons

         Exhibit D       Civil Case Cover Sheet

         Exhibit E       Complaint and Jury Demand

         Exhibit F       Return of Service

         Exhibit G       Answer, Affirmative Defenses, and Jury Demand


                                                  3
Case 1:18-cv-00790-MSK-NRN Document 1 Filed 04/04/18 USDC Colorado Page 4 of 5




          Exhibit H        State Court Docket Sheet

          8.       Defendant Swift has complied with all of the requirements of 28 U.S.C. § 1446 and

  D.C.Colo.LCivR. 81.1. 3

          Respectfully submitted this 4th day of April, 2018.



                                                       /s/ Daniel J. Bristol
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  This document is maintained in accordance with C.R.C.P. 121 § 1-26(7)-(9).




  3
   Defendant Swift is not required to obtain consent from the non-served Defendant. Godley v.
  Valley View State Bank, Civil Action No. 99-2531-GTV, 2000 U.S. Dist. LEXIS 11076, *3-4 (D.
  Kan. July 6, 2000) (citing McShares v. Barry, 979 F. Supp.1338, 1342 (D. Kan. 1997)).
                                                         4
Case 1:18-cv-00790-MSK-NRN Document 1 Filed 04/04/18 USDC Colorado Page 5 of 5




                                   CERTIFICATE OF SERVICE


        I hereby certify that on this 4th day of April, 2018, I electronically filed the foregoing Notice

  of Removal with the Clerk of the Court using the CM/ECF system which will send notification of

  such filing to parties or counsel registered through ECF. In addition, I hereby certify that I have

  served via U.S. Mail and electronic mail the forgoing document to the following non-CM/ECF

  participants:


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                                                 s/ Laura Buckingham
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